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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

  UNITED STATES OF AMERICA                        )
                                                  )
                v.                                ) CRIMINAL NO.: 1:16-CR-229 (BAH)
                                                  )
  RUBEN OSEGUERA-GONZALEZ,                        )
       also known as “Menchito,”                  )
       “Rubencito,” “Rojo,” “Ruso,”               )
       “Junior,” and “El Nino,”                   )
                             Defendant.           )


                                     [PROPOSED] ORDER

       Having considered the parties’ Joint Motion to Continue Status Conference and to

Exclude Time Under the Speedy Trial Act, this Court hereby ORDERS:

       1.      The status conference set in this matter for Friday, March 11, 2022 at 3:00 p.m. is

hereby continued to June __, 2022, at ________.

       2.      The time between March 11, 2022 and the continued date of June __, 2022 shall

be excluded under the Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)(7)(A).

       In support of this order, the Court finds that, based on the parties’ submission, this

continuance will serve the ends of justice by affording counsel for both the defendant and the

government reasonable time necessary for effective preparation, and will help conserve the

resources of the Court and of the parties by allowing the parties to evaluate whether this matter

may be disposed of short of trial.



                                              HON. BERYL A. HOWELL
                                              CHIEF JUDGE
                                              UNITED STATES DISTRICT COURT
                                              FOR THE DISTRICT OF COLUMBIA
